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                         UNITED STATES DISTRICT   38 filed 06/12/12
                                                COURT                                     page 1 of 2
                              NORTHERN DISTRICT OF INDIANA
                                  SOUTH BEND DIVISION


 UNITED STATES OF AMERICA                     )
                                              )
                v.                            )               CAUSE NO. 3:12cr0051 RLM
                                              )
 JAVON D. THOMAS                              )




                             FINDINGS AND RECOMMENDATION
                                OF THE MAGISTRATE JUDGE
                                 UPON A PLEA OF GUILTY


        On June 8, 2012, the Honorable Robert L. Miller, Jr., District Judge, referred this case to

 the undersigned to make findings as to whether the defendant (1) is competent to enter a plea; (2)

 knowingly and voluntarily wishes to enter a plea to the charge(s); (3) understands the charge(s);

 (4) whether there exists a factual basis for the charge(s); and a recommendation as to whether a

 plea of guilty should be accepted by the United States District Court Judge. On

 June 12, 2012, a hearing was held on the defendant’s request to enter a plea of guilty. Appearing

 for the United States was Assistant United States Donald J. Schmid. Appearing for the defendant

 was David B. Weisman; the defendant was personally present. With the written consent of

 defendant, his counsel and the counsel for the United States, the undersigned proceeded to

 conduct the hearing.

        In consideration of that hearing and the statements made by the defendant under oath on

 the record and in the presence of counsel, the remarks of the Assistant United States Attorney and

 of counsel for defendant,

        I FIND as follows:

        (1) that defendant is competent to plead guilty;

        (2) that the defendant understands that his answers may later be used against him in a
 prosecution
USDC  IN/NDfor perjury
             case      or false statement;
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         (3) that defendant understands the nature of the charge against him to which the plea is

 offered;

         (4) that the defendant understands the charge and what the maximum possible sentence is,

 including the effect of the supervised release term, and defendant understands that the sentencing

 guidelines apply and that the Court may depart from those guidelines under some circumstances;

         (5) that the defendant understands his right to trial by jury, to persist in his plea of not

 guilty, to the assistance of counsel at trial, to confront and cross-examine adverse witnesses, and

 his right against compelled self-incrimination; to appeal his conviction, if convicted, and that the

 defendant has knowingly and voluntarily waived those rights, and wishes to plead guilty.

         (6) that the plea of guilty by the defendant has been knowingly and voluntarily made and

 is not the result of force or threats or of promises apart from the plea agreement between the

 parties; and,

         (7) that there is a factual basis for the defendant’s plea.

         In light of those findings, I now recommend that; (1) the Court accept the defendant’s

 plea of guilty (2) that the defendant be adjudged guilty of Count 1 of the Indictment, in violation

 of Title 18, U.S.C. §924(c) and (2) have sentence imposed. A Presentence Report has been

 ordered. Should this Report and Recommendation be accepted and the Defendant adjudged

 guilty, sentencing has been scheduled for September 17, 2012 at 9:30 a.m. (EDT), before Judge

 Robert L. Miller, Jr. Sentencing memorandum and any motions shall be filed no later than

 September 10, 2012. Objections to the Findings and Recommendation are waived unless filed

 and served within fourteen (14) days. 28 U.S.C. § 636(b)(1)(B).

         DATED: June 12, 2012
                                                         S/Christopher A. Nuechterlein
                                                         Christopher A. Nuechterlein
                                                         United States Magistrate Judge




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